Case 8:22-cr-00259-WFJ-AEP   Document 296-284   Filed 09/17/24   Page 1 of 2 PageID
                                     5035




                 U.S. District Court
               Middle District of Florida
                   Tampa Division

              GOVERNMENT EXHIBIT

     Exhibit No.: 304

     Case No.: 8:22-cr-259-WFJ-AEP

     UNITED STATES OF AMERICA

     vs.

     OMALI YESHITELA, ET AL.


     Date Identified:                    __________

     Date Admitted:                   ____________
Case 8:22-cr-00259-WFJ-AEP   Document 296-284   Filed 09/17/24   Page 2 of 2 PageID
                                     5036
